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                                                            Central District of California
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 6
   Attorneys for Movant and Creditor,
 7 HOUSER BROS. CO. dba RANCHO DEL
   REY MOBILE HOME ESTATES
 8
                             UNITED STATES BANKRUPTCY COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
   In re                                     Case No. 8:21-bk-11710-ES
11
   JAMIE LYNN GALLIAN,                       Chapter 7
12
                    Debtor.                  ORDER CONTINUING HEARING ON
13                                           DEBTOR’S NOTICE OF AND MOTION FOR
                                             RECONSIDERATION OF 7.21.22 ORDER
14                                           SUSTAINING HOUSER BROS. CO. DBA
                                             RANCHO DEL REY MOBILE HOME
15                                           ESTATES’S OBJECTION TO DEBTOR’S
                                             CLAIMED HOMESTEAD EXEMPTION
16
                                             [MOTION: DK. NO. 157]
17
                                             HEARING DATE
18                                           Date: August 18, 2022
                                             Time: 10:30 a.m.
19                                           Ctrm: 5A
                                             Location: 411 W. Fourth Street, Santa Ana, CA
20                                           92701
21                                                   CONTINUED HEARING DATE
                                                     Date: September 22, 2022
22                                                   Time: 10:00 a.m.
                                                     Ctrm: 5A
23                                                   Location: 411 W. Fourth Street, Santa Ana, CA
                                                     92701
24

25         On August 18, 2022, at 10:30 a.m., the Court held a hearing on the Motion for
26 Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile
27 Home Estates Objection to Debtor's Claimed Homestead Exemption (“Motion”), filed by Jamie

28 Lynn Gallian (“Debtor”) on July 26, 2022, as Dk. No. 157. Appearances were as noted on the


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 1 record. During the hearing, all parties were given an opportunity to be heard. The Court, having

 2 read and considered the Motion; the Response by Houser Bros. Co. dba Rancho Del Rey Mobile

 3 Home Estates (“Houser Bros.”), Dk. No. 170; the Joinders of Chapter 7 Trustee Jeffrey I.

 4 Golden and The Huntington Beach Gables Homeowners Association in Houser Bros.’s

 5 Response, Dk. Nos. 171, 173; and Debtor’s Reply, Dk. No. 185; and all other pleadings and

 6 papers filed in this case, the Court’s tentative ruling, and having heard the arguments made on

 7 the record during the hearing, the Court enters its order as follows:

 8            IT IS ORDERED that:
 9            1.       The hearing on the Motion is continued to September 22, 2022, at 10:00 a.m.,
10 before this Court;

11            2.       No further briefing on the Motion is allowed or will be considered, and all
12 pleadings are closed;

13            3.       The Court will proceed on the merits of Debtor’s Motion if Debtor’s appeals
14 [Dk. Nos. 143, 161, 169, and 189] are dismissed, and no further appeals are pending regarding

15 the Court’s ruling on Houser Bros.’s Motion Objecting to Debtor’s Claimed Homestead

16 Exemption, Dk. No. 95.

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23     Date: September 7, 2022

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27   4862-6578-5903, v. 1

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